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               IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                               NO.   4:05CR00035-002 SWW

CHARLENE WILSON JOHNSON


                                  ORDER

      On December 2, 2005, the Court ordered that defendant be taken into

custody immediately by the United States Marshal and detained pending a

clear or near clear drug test as determined by the U. S. Probation

Office.   Following a negative test, a sentencing hearing was held on

December 20, 2005.    At the conclusion of the sentencing hearing, the

Court took up the matter of the government’s motion to revoke defendant’s

bond for violations of conditions of her release.        After statements on

the record, the Court found that defendant’s bond should be revoked.

      IT IS THEREFORE ORDERED that defendant’s bond hereby is revoked, and

defendant shall remain in custody and immediately begin service of the

sentence imposed.

      IT IS SO ORDERED this 21st day of December, 2005.



                                          /s/Susan Webber Wright

                                          UNITED STATES DISTRICT JUDGE
